Case 06-10725-gwz Doc 3737-4 Entered 05/15/07 14:00:20 Page1of2

" Originak

8254 (5/92) Subpocna for Rule 2004 Examination

United States Bankruptcy Court

DISTRICT OF NEVADA

IN BE SUBP FOR RULE 2004 & 0
Us4 COMMERCIAL MORTGAGE COMPANY, CaseNOS. BK-3-06-10725 LER
USA CAPITAL REALTY ADVISORS, LLC, BK-S-06-10726 LER
USA CAPITAL DIVERSIFIED TRUST DEED FUND LLC, BK:§-06-10727 LBR
USA CAPITAL FIRST TRUST DEED FUND LLC, Bi=§-06-10728 LER
USA SECURITIES, LLC, HiK-8-06-10729 LER

DEERTORS. JOINTLY ADMINISTERED UNDER

CaSENO. BK-S-06-10728-LBR
AFFECTS! ALL DEBTORS

TO: Bank of Commerce
c/o Richard Robinson
4343 E, Sunset Road
Henderson, Nevada 89014

x YOU ARE COMMANDED to produce a coxporate representative for examination under Federal Rule of Bankruptcy Procedure 2004, pursuant
to the attached court order, regarding the following topics at the place, date arid time specified below:

SEE ATTACHED EXHIBIT A FOR TOPICS OF EXAMINATION

PLACE OF TESTIMONY "| DATE AND TIME

LEWIS AND ROCA, LLP May 24, 2007 at 10:00 AM.
3093 HOWARD HUGHES PARKWAY, SUITE 600

LAS VEGAS, NEVADA 89169 Or such other mutually
(702) 949-8200 -aprecable date and/or time

x YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the place, date, and time
specified below:

SEE ATTACHED EXHIBIT B FOR DOCUMENTS REQUESTED

PLACE , DATE

LEWIS AND ROCA, LLP April 25, 2007 at 10:00 A.M,
3993 HOWARD HUGHES PARKWAY, SUITE 600 Or euch other mutually
LAS VEGAS, NEVADA 89169 d :
(402) 949-8200 agreeable date and/or time
ISSUING OFF; GNATURE AND TITLE DATE

April 13, 2007

&
. ,
Spetial Litigation Counsel for the USACM Liquidating Trust

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER

ERIC D. MADDEN : EXHIBIT
DIAMOND MCCARTHY LLP
1201 ELM STREET, 34TH FLOOR

DALLAS, TEXAS 75270 8 D

(214) 389-5306

jobies"

(00365037; )

Case 06-10725-gwz Doc 3737-4 Entered 05/15/07 14:00:20 Page 2 of 2

PROOF OF SERVICE!

meet Road Henderson NV g9014

pave: 27) 8~¥!
at 2:06 pi
SERVED: Bank of Commerce

piace: F343 EB.

SERVED ON (PRINT NAME)

MANNER OF SERVICE, ,, gail ‘garvice bY GyLEver ing-
to Theresa Cathcart,manager

DECLARATION OF SERVER

| declare under penalty of perjury under the
contained in the Proof of Service is true and correct.

Executed on fofa 2b 2h"):

laws of the United States of America that the foregoing information

5) daprinn Rx.

Date

Signature of Server

4118 Fremont St Las Vegag,NV 89101
Addreas of Server

Rule 45, Federal Rules of Civil Procedure, Parts {c) & (d) made applicable in cages under the Bankruptcy Code by Rule 9016, Fel R. Bankr P.:

(c) PROTECTION OF PERSONS SUBJECT TO SUBPOENAS.

Gil) requires disclosure of privileged of other protected
matter and no exception or Waiver applies, or
qu subjects a person to dindue burden.

(NA party or an attorney responsible for the jamuance and sctvice of (B) Ifa subpoena
a subpoena shall take teasonable steps to avoid imposmng undue burden or . .
expense on a person subject to that subpoena. The court on behalf of which the @ requires disclosure of a trade secret ot other
suppomma wes issued shall enforce this duty and. impose pon the party or confidential research, development, or commercial information, or
attomey in breach of this duty an appropriate sanction, which may Inc! nde, but _ (ii) toquires disclosure of an unretained expert's opinion of
is not hnvited to, lost earnings and reasonable attomey'a fes, information not describing celtic events or occurrences in dispute
. . ahd restiiting from the expert's etudy made not at the request of any
(2)(A), A persan commanded to produce and pertait inspection and patty, OF... , .
copying of designated books, papets, ocuments. or tangible things, of _ Gil) requires a person who is not a party or an officer of a
inspection of, ges need hat appear in persor, at the place of prnduction or party to anor Substantial expense to travel more than 100 miles to
inspection unless commanded & appear for deposition, hearing or tral. attend thal, the court may, to protect a petson givject, to or affected
by the subpoena, quash or modify the subpoena ot, if the pay in
(B) Subject to paragraph (d)(Z) of this ry]e, @ person commanded to whose behalf the aubporna 18 issued shoya a substantial need for the
produce and permit inspection and copying tmoy, within 14 days after service of teatimony or, material that cannot be otherwise fact without undue
e aubpgens or before the time specified for compliance if such time is hess hardshiy and assures that the person to whom the subposna js
than 14 days atter sctvice, serve upon the party or attomiey designated in the addressed will be reasoriably compensated, the court may Order ap-
gubpoena Written cbjection to inspechan Of copying of any or all of the pearance of production only upon Specified conditions,

d i9}s OF .

ihe Subponna. shall nat be entitled to inspect and copy the materials or inspect (d) DUTIES IN RESPONDING TO SUBPOENA.

the premiges except pursuant fo an order by the court by which the subpoena . ‘

was issued, Tf objection has been made, the party serving the subpoena may, (1) A person respanding to a subpoeria to produce documents shall
upon notice to the person comamatided to produce, move at any time for én produce thein ag they arc kept tn the usual course of business or shall organize
order to compel the production. Such ant order to compel production shall and label them to correspond with the categories in the demand.

protect any persons who is not a party or an officer of a patty from significant

When information subject to 4 subpoena is withheld on « claim
that ig privileged or subject to protection as trial preparation materials, the claim,

(3)(A) Qn timely motion, the court by which a subpoena was issued shall be made expressly and shall be supported by a description of the nature of

i) fails ty allow reasonable time for compliance,

the documents, comritnications, or things not produce that is sufficient to
enable the demanding party to contest the claim.

ii) requires a péraon who is nof 4 party or an officer of'a
party to travel to a place more than 100 miles from the place where
that’ person resides, 18 employed ot regularly transacts budiness, in

person, cxcept that, subjce!

to the provisions of clause COKE
ie

Pe this Tule, auch a person may in order (o attend inal be comnmande
to travel from any such plece within the state 1 which the trial is held

Of,

(00365037;)

